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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

K. SCOTT STOKES,                       )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
H+G REAL ESTATE, LLC,                  )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, K. SCOTT STOKES, by and through the undersigned

counsel, and files this, his Complaint against Defendant H+G REAL ESTATE,

LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                     PARTIES

       3.     Plaintiff K. SCOTT STOKES (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Roswell,

Georgia (Fulton County).

       4.     Plaintiff is a quadriplegic and is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Defendant H+G REAL ESTATE, LLC (hereinafter “Defendant”) is a

Georgia limited liability company that transacts business in the state of Georgia

and within this judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Gwen Velazquez, 1745 Broadwell Oaks Drive,

Alpharetta, Georgia 30004.

                            FACTUAL ALLEGATIONS

       9.     On multiple occasions, including but not limited to September 24,

2021, Plaintiff was a customer at “ACE Hardware Crabapple,” a business located


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at 12350 Arnold Mill Road, Alpharetta, Georgia 30004.

      10.    On multiple occasions, including but not limited to December 17,

2021, Plaintiff was a customer at “Crabapple Tavern,” a business located at 12350

Arnold Mill Road, Alpharetta, Georgia 30004.

      11.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action and located at 12350 Arnold Mill

Road, Alpharetta, Georgia 30004. (The contiguous structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      12.    Plaintiff lives approximately one (1) mile from the Facility and

Property.

      13.    Plaintiff’s access to the businesses located at 12350 Arnold Mill

Road, Alpharetta, Georgia 30004 (Fulton County Property Appraiser’s parcel

number 22 372012112261), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.


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      14.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.    The Facility is a public accommodation and service establishment.

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      21.    The Property is a public accommodation and service establishment.

      22.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and


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ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others


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with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The access aisle adjacent to the accessible parking space on the

             Property most proximate to Crabapple Tavern has inadequate

             dimensions, in violation of section 502.3 of the 2010 ADAAG

             standards.

      (ii)   The access aisle adjacent to the accessible parking space on the

             Property most proximate to Crabapple Tavern is not level due

             to the presence of a ramp within the boundaries of said access

             aisle, in violation of section 502.4 of the 2010 ADAAG

             standards.


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(iii)   The side flares of the above-described ramp on the Property

        most proximate to Crabapple Tavern have slopes in excess of

        1:10 (one to ten), in violation of section 406.3 of the 2010

        ADAAG standards. Further, there is broken pavement and

        excessive vertical rises at the base of this ramp, in violation of

        section 405.7 of the 2010 ADAAG standards.

(iv)    The ramp on the Property most proximate to Crabapple Tavern

        does not provide for a 36” (thirty-six inch) inch clear and level

        landing, in violation of section 406.4 of the 2010 ADAAG

        standards.

(v)     The accessible route on the Property leading to the accessible

        entrances of the Facility has significant cross-slope in excess of

        1:48 (one to forty-eight), in violation of section 403.2 of the

        2010 ADAAG standards.

(vi)    One of the two accessible parking spaces on the Property most

        proximate to ACE Hardware Crabapple is missing proper

        identification signage, in violation of section 502.6 of the 2010

        ADAAG standards.

(vii) The access aisle centrally adjacent to the two accessible parking


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      spaces on the Property most proximate to ACE Hardware

      Crabapple is not level due to the presence of a ramp within the

      boundaries of said access aisle, in violation of section 502.4 of

      the 2010 ADAAG standards.

(viii) The above-described ramp on the Property most proximate to

      ACE Hardware Crabapple has a running slope exceeding 1:12

      (one to twelve), in violation of section 405.2 of the 2010

      ADAAG standards, and the slope of its side flares are in excess

      of 1:10 (one to ten), in violation of section 406.3 of the 2010

      ADAAG standards.

(b)   INTERIOR ELEMENTS:

(i)   The interior of the Crabapple Tavern portion of the Facility has

      a bar lacking any portion of which that has a maximum height

      of 34” (thirty-four inches) from the finished floor, in violation

      of section 902.3 of the 2010 ADAAG standards. Further, there

      is no seating within reasonable proximity to the bar offering

      dining surfaces provided for consumption of food or drink

      which complies with section 902.2 of the 2010 ADAAG

      standards, requiring appropriate knee and toe clearance


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        complying with section 306 of the 2010 ADAAG standards,

        positioned for a forward approach, in violation of section 226.1

        of the 2010 ADAAG standards.

(ii)    The interior of the Crabapple Tavern portion of the Facility has

        no restrooms signage that complies with sections 216.8 and 703

        of the 2010 ADAAG standards.

(iii)   The hardware on the restroom doors in the Crabapple Tavern

        portion of the Facility have operable parts that require tight

        grasping, pinching or twisting of the wrist, in violation of

        section 309.4 of the 2010 ADAAG standards.

(iv)    The restrooms in the Crabapple Tavern portion of the Facility

        have sinks that do not provide for adequate knee and toe

        clearance thereunder, in violation of section 606.2 of the 2010

        ADAAG standards.

(v)     The soap dispensers in the restrooms in the Crabapple Tavern

        portion of the Facility are located outside the prescribed reach

        depths set forth in section 308.2.1 of the 2010 ADAAG

        standards.

(vi)    The accessible toilet stalls in the restrooms in the Crabapple


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             Tavern portion of the Facility do not have grab bars adjacent to

             the commodes therein, or otherwise do not comply with section

             604.5 of the 2010 ADAAG standards.

      (vii) The height of the coat hooks located in the restroom stalls in the

             restrooms in the Crabapple Tavern portion of the Facility are

             above 48” (forty-eight inches) from the finished floor, in

             violation of section 308.2.1 of the 2010 ADAAG standards.

      32.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle while on the

Property, more difficult and dangerous for Plaintiff to utilize the ramps servicing

the Property, more difficult for Plaintiff to travel upon the accessible routes on the

Property, and made it more difficult for Plaintiff to utilize all features of the

restroom in the Crabapple Tavern portion of the Facility.

      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.


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      35.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      39.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous


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conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,


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             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: December 20, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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